Case 1:23-cr-00006-HCN-JCB Document 37 Filed 11/18/24 PageID.79 Page 1 of 1
                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH
                                             :
UNITED STATES OF AMERICA                     :
                                             :               ORDER FOR
               Plaintiff,                    :               PSYCHOSEXUAL
                                             :               EXAMINATION & TESTING
                                             :
Tadashi Kura Kojima                          :
                                             :          DOCKET NO. 1088 1:23CR00006-001
               Defendant                     :
                                             :
       It appears that psychosexual examination and testing of the defendant is necessary in order that a
more complete presentence report may be prepared pursuant to Rule 32(c) and 3552(c) of the Federal
Rules of Criminal Procedure.

        IT IS THEREFORE ORDERED that the defendant submit to an examination conducted by a
qualified practitioner as directed by the Probation Office to provide information to the Court pursuant to
5 U.S.C. § 3109. Contact visits with the defendant may be needed and requested by the housing unit if
possible.

        THE COURT REQUIRES THE REPORT TO INCLUDE AND ANSWER THE FOLLOWING:
Complete a sex offense-specific evaluation (“psychosexual evaluation”) comprehensive evaluation
necessary to determine the risk of recidivism, dangerousness, defendant/offender’s level of deviancy,
violence, and coercion. The report would indicate if treatment were necessary for assessing risk factors
and formulating a recommendation for sentencing and treatment. Include any or all of the following:
psychological testing, or Abel Assessment for Sexual Interest (AASI). Utilize and describe at least one
actuarial risk assessment. Examples of actuarial assessments include: VRAG, SORAG, HARE PCL-R,
RRASOR, STATIC 99, MNSOST-R, etc). Must be a licensed/certified PhD or Psy. D and certified as a
Sex Offender provider with the Utah Department of Corrections. The Plethysmograph test will NOT be
used.

       IT IS FURTHER ORDERED that investigative information may be released to any approved
treatment provider selected by the U.S. Probation Office for purposes of testing and evaluation.

        IT IS FURTHER ORDERED that the United States Probation Office shall pay all reasonable and
necessary expenses from funds allocated for such purposes with the Administrative Office of the U.S.
Courts.

       DATED this _______________
                    18th                  November
                                  day of _________________, 20__.
                                                              24

                                             BY THE COURT:


                                             __________________________________________
                                             Honorable Dustin B. Pead
                                             Chief United States Magistrate Judge
